          Case 3:23-cv-11774-XXXX Document
JS 44 (Rev. 04/21)                   CIVIL1-1 Entered
                                           COVER      on FLSD Docket 02/16/2023 Page 1 of 2
                                                   SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) Max Andrews and Carol Andrews                                                                     GLAXOSMITHKLINE LLC; GLAXOSMITHKLINE
                                                                                                         HOLDINGS (AMERICAS) INC.; GlaxoSmithKline PLC

   (b) County of Residence of First Listed Plaintiff
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                         County of Residence of First Listed Defendant                 New Castle County, Delaware
                                                                                                                            (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                THE TRACT OF LAND INVOLVED.
   (c) Attorneys
         Ashley Keller - Keller Postman                                                                   Attorneys (If Known)
         150 N. Riverside Plaza, Suite 4100 Chicago, IL 60606
         312-741-5220

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                        and One Box for Defendant)
  1   U.S. Government                  3 Federal Question                                                                      PTF          DEF                                           PTF        DEF
        Plaintiff                          (U.S. Government Not a Party)                        Citizen of This State             1           1      Incorporated or Principal Place            4      4
                                                                                                                                                        of Business In This State

  2   U.S. Government               X4    Diversity                                             Citizen of Another State          X   2          2   Incorporated and Principal Place           5    X5
        Defendant                           (Indicate Citizenship of Parties in Item III)                                                               of Business In Another State

                                                                                                Citizen or Subject of a               3          3   Foreign Nation                             6        6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                  Click here for: Nature of Suit Code Descriptions.
         CONTRACT                                              TORTS                              FORFEITURE/PENALTY                          BANKRUPTCY                       OTHER STATUTES
  110 Insurance                      PERSONAL INJURY                 PERSONAL INJURY              625 Drug Related Seizure                422 Appeal 28 USC 158              375 False Claims Act
  120 Marine                         310 Airplane                    365 Personal Injury -            of Property 21 USC 881              423 Withdrawal                     376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product                Product Liability        690 Other                                   28 USC 157                         3729(a))
  140 Negotiable Instrument               Liability               x 367 Health Care/                                                        INTELLECTUAL                     400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &               Pharmaceutical                                                     PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment           Slander                       Personal Injury                                                   820 Copyrights                     430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’             Product Liability                                                 830 Patent                         450 Commerce
  152 Recovery of Defaulted               Liability                 368 Asbestos Personal                                                 835 Patent - Abbreviated           460 Deportation
       Student Loans                 340 Marine                          Injury Product                                                       New Drug Application           470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product                  Liability                                                        840 Trademark                          Corrupt Organizations
  153 Recovery of Overpayment             Liability                PERSONAL PROPERTY                        LABOR                         880 Defend Trade Secrets           480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle              370 Other Fraud               710 Fair Labor Standards                    Act of 2016                         (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle              371 Truth in Lending              Act                                                                    485 Telephone Consumer
  190 Other Contract                     Product Liability          380 Other Personal            720 Labor/Management                    SOCIAL SECURITY                         Protection Act
  195 Contract Product Liability     360 Other Personal                 Property Damage               Relations                           861 HIA (1395ff)                   490 Cable/Sat TV
  196 Franchise                          Injury                      385 Property Damage          740 Railway Labor Act                   862 Black Lung (923)               850 Securities/Commodities/
                                     362 Personal Injury -               Product Liability        751 Family and Medical                  863 DIWC/DIWW (405(g))                  Exchange
                                         Medical Malpractice                                          Leave Act                           864 SSID Title XVI                 890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS                PRISONER PETITIONS             790 Other Labor Litigation              865 RSI (405(g))                   891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights         Habeas Corpus:                791 Employee Retirement                                                    893 Environmental Matters
  220 Foreclosure                    441 Voting                     463 Alien Detainee                Income Security Act                 FEDERAL TAX SUITS                  895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment                 510 Motions to Vacate                                                  870 Taxes (U.S. Plaintiff              Act
  240 Torts to Land                  443 Housing/                       Sentence                                                               or Defendant)                 896 Arbitration
  245 Tort Product Liability             Accommodations             530 General                                                           871 IRS—Third Party                899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -     535 Death Penalty                 IMMIGRATION                               26 USC 7609                      Act/Review or Appeal of
                                         Employment                 Other:                        462 Naturalization Application                                                 Agency Decision
                                     446 Amer. w/Disabilities -     540 Mandamus & Other          465 Other Immigration                                                      950 Constitutionality of
                                         Other                      550 Civil Rights                  Actions                                                                    State Statutes
                                     448 Education                  555 Prison Condition
                                                                     560 Civil Detainee -
                                                                        Conditions of
                                                                        Confinement


IV. ORIGIN (Place an “X” in One Box Only)
  1 Original              2 Removed from                    3     Remanded from              4 Reinstated or              5 Transferred from            6 Multidistrict           X8     Multidistrict
    Proceeding              State Court                           Appellate Court              Reopened                     Another District              Litigation -                   Litigation -
                                                                                                                            (specify)                     Transfer                       Direct File
                                       Cite the U.S . Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity ):
                                            28 U.
                                 S.C. Section 1332
VI. CAUSE OF ACTION Brief descrip tion of cause:
                                             Diversity Cause of Action f or Zantac ca using cancer
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTIO N                       DEMAND $                                      CHECK YES only if demanded in complaint:
      COMPLAINT:                            UNDER RULE 23, F.R.Cv.P.                                                                             JURY DEMAND:         X Yes       No
VIII. RELATED CASE(S)
                                         (See instructions):
      IF ANY                                                      JUDGE           Hon. Robin L. Rosenberg                                 DOCKET NUMBER                20-MD-2924
 DATE                                                                   SIGNATURE OF ATTORNEY OF RECORD
2/13/2023                                                                          /s/ Ashley Keller
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                   APPLYING IFP                                     JUDGE                              MAG. JUDGE
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                      INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                Authority For Civil Cover Sheet

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required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
